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                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION
 PAUL A. EKNES-TUCKER, et al.,             )
                                           )
       Plaintiffs,                         )
                                           )
 v.                                        )    Case No: 2:22-cv-0184-LCB-SRW
                                           )
 KAY IVEY, et al.,                         )
                                           )
       Defendants.                         )

                                      ORDER

      Before the Court is Plaintiffs’ Motion for Leave to Proceed Pseudonymously.

(Doc. 6). The Defendants do not object to the Minor Plaintiffs or the Parent Plaintiffs

proceeding under pseudonyms. (Doc. 54 at 2). Accordingly, the Court will grant

the motion as to those plaintiffs. The Court notes that Plaintiffs and their counsel

have represented to the Court that, should the identities of these parties become

relevant, they will be disclosed to the Defendants under an agreed upon protective

order. (Doc. 57 at 2).

      However, the Defendants do object to one of the Healthcare Provider

Plaintiffs, “Rachel Koe, M.D.” proceeding anonymously. The other Healthcare

Provider Plaintiff, named in the complaint as “Jane Moe, PhD” has withdrawn her

request to proceed pseudonymously. (Doc. 57 at 2). Thus, the Court is faced only
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with Dr. Koe’s request. For the following reasons, Dr. Koe’s motion is due to be

granted.

      In her reply to the Defendants’ opposition, Dr. Koe submitted an affidavit

where she voiced a strong concern for her physical safety. (Doc. 57-1). Dr. Koe

also asserted that she feared for the physical safety of her staff and family if her name

becomes publicly associated with this case. In support of those assertions, Dr. Koe

asserts that she lives and practices medicine in a rural community in southeast

Alabama. Id. at 2. During the COVID-19 pandemic, she gave a speech at a public

meeting advocating for the wearing of masks. Id at 4. According to Dr. Koe, many

attendees became angry, and the atmosphere turned hostile. Dr. Koe said that the

meeting became so heated that she faced physical threats and had to be escorted from

the venue by a police officer. Id. Following that meeting, Dr. Koe said, someone in

her neighborhood published personal information about her children on social media

and encouraged people to taunt and harass them. Her practice also received negative

attention in the form of false online reviews after Dr. Koe publicly advocated that

children be vaccinated. Id at 5-6.

      Dr. Koe claims these experiences frightened her and made her fear for her

safety and the safety of her family and staff. She asserts that people in her

community have strong negative feelings about the issues involved in this case. For

example, she says that she has been approached by parents and others in her


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community “in a combative manner” to state their opposition to doctors providing

medical treatments to transgendered children. (Doc. 57-1 at 3). She also says that

she fears for the safety of her transgendered patients because, if her identity becomes

known, people may stake out her clinic and identify her transgender patients and

their families. Dr. Koe also claims that, because of the alleged vagueness of the law,

she is worried that she may state an intention to violate the law during the

proceedings and thus open herself up to prosecution.

      In discussing the issue of parties proceeding under pseudonyms, the Eleventh

Circuit has explained:

      Federal Rule of Civil Procedure 10(a) requires that “every pleading” in
      federal court “must name all the parties.” Fed. R. Civ. P. 10(a) (2010).
      “This rule serves more than administrative convenience. It protects the
      public’s legitimate interest in knowing all of the facts involved,
      including the identities of the parties.” [Doe v.] Frank, 951 F.2d [320,
      322] (citing Doe v. Rostker, 89 F.R.D. 158, 160 (N.D.Cal.1981) and
      Doe v. Deschamps, 64 F.R.D. 652, 653 (D.Mont.1974)). This creates a
      strong presumption in favor of parties’ proceeding in their own names.

Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011). However, this rule is

not absolute:

      A party may proceed anonymously in a civil suit in federal court by
      showing that he “has a substantial privacy right which outweighs the
      ‘customary and constitutionally-embedded presumption of openness in
      judicial proceedings.’” Frank, 951 F.2d at 323 (quoting Stegall, 653
      F.2d at 186). In evaluating whether a plaintiff has shown that he has
      such a right, the court “should carefully review all the circumstances of
      a given case and then decide whether the customary practice of
      disclosing the plaintiff’s identity should yield to the plaintiff’s privacy


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       concerns.” Id. (citing S. Methodist Univ. Ass'n of Women Law Students
       v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979)[hereinafter, SMU])

Francis, 631 F.3d at 1315–16.

       The initial step in that analysis is to look at the three factors discussed in SMU:

“First, are the plaintiffs seeking anonymity challenging governmental activity?

Second, will they be required to disclose information of the utmost intimacy? Third,

will the plaintiffs be compelled to admit their intention to engage in illegal conduct

and thus risk criminal prosecution?” Francis, 631 F.3d at 1315–16, citing Doe v.

Stegall, 653 F.2d 180, 183 (5th Cir. Unit A Aug.1981) 1(restating the test from SMU).

       However, the analysis does not end there as a court must also consider other

factors such as “[1] whether the plaintiffs were minors, [2] whether they were

threatened with violence or physical harm by proceeding in their own names, and

[3] whether their anonymity posed a unique threat of fundamental unfairness to the

defendant.” Id. at 1316 (internal citations omitted). The Eleventh Circuit has gone

on to clarify that these factors are not exclusive and has held that “whether a party's

right to privacy overcomes the presumption of judicial openness is a totality-of-the-

circumstances question.” In re: Chiquita Brands Int'l, Inc., 965 F.3d 1238, 1247, n.

5 (11th Cir. 2020).



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 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), the Eleventh
Circuit adopted as precedent all rulings of the former Fifth Circuit handed down prior to October
1, 1981. Stegall was decided on August 10, 1981.
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        This case challenges governmental activity as opposed to alleging

wrongdoing by a particular defendant. So, there is no fundamental unfairness in

naming the Defendants while allowing Dr. Koe to remain anonymous. Further, and

most importantly for this analysis, Dr. Koe alleged that she has been threatened with

violence in the past when expressing her views on controversial issues and

reasonably expects the same to happen should she be named here. Dr. Koe’s fears

are not speculative because they are grounded in concrete incidents from the recent

past.

        Having considered the briefs, Dr. Koe’s affidavit, and the totality of the

circumstances in this particular case, including the media attention this case has

garnered, the Court finds Dr. Koe’s fears for her safety and that of her family and

staff to be well founded. The Court finds these considerations to weigh heavily in

favor of anonymity. Accordingly, the Plaintiffs’ Motion for Leave to Proceed

Pseudonymously (Doc. 6) is GRANTED. The Plaintiffs identified as Brianna Boe,

Michael Boe, James Zoe, Zachary Zoe, Megan Poe, Allison Poe, Kathy Noe,

Christopher Noe, and Rachel Koe, M.D. may proceed under pseudonyms.

        DONE and ORDERED May 3, 2022.



                                    _________________________________
                                    LILES C. BURKE
                                    UNITED STATES DISTRICT JUDGE


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